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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-00947-DDD-KAS

  JAMES COREY GOODE, individually, and GOODE
  ENTERPRISE SOLUTIONS INC.

                                           Plaintiffs,

  v.

  ROGER RICHARDS RAMSAUR, LEON ISAAC KENNEDY
  and ADRIENNE YOUNGBLOOD,


                                           Defendants.

    PROPOSED ORDER GRANTING JAMES COREY GOODE AND GOODE
   ENTERPRISE SOLUTIONS INC.’S REQUEST FOR DEFAULT JUDGMENT
               AGAINST ROGER RICHARDS/RAMSAUR

        On this _____ day of ________________, 2023, it appears from the Motion for

  Default Judgment and declaration in support thereof, Defendant Roger Richards

  (“Richards” or “Defendant”) has failed to plead or otherwise defend herein as

  provided by the Federal Rules of Civil Procedure.

        Now, therefore, the DEFAULT of the following named Defendant is hereby

  entered on the claims against them filed by Plaintiffs James Corey Goode and

  Goode Enterprise Solutions, Inc. and a hearing is set for the ____ of _________, 20__.

        In the alternative, this Court awards the following relief:

               a. Actual damages from faulty/unsent DVDs and resulting loss of

                  goodwill and business: $20,000.00

               b. Damages from Defendant’s extortion scheme: lost profits amounting

                  to $5,000,000.00 (five million dollars),

                                              1
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             c. Actual damages from the loss of audio and video assets: valued at

                $500,000.00 (five hundred thousand dollars),

             d. Statutory damages under the Lanham Act,

             e. Treble damages under the Lanham Act,

             f. Injunction prohibiting Defendant from further defaming Plaintiffs,

                using the trademarks at issue, and using the audio and video

                assets,

             g. Attorneys fees.




                                     ___________________________________
                                     THE HONORABLE JUDGE DOMENICO




                                        2
